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IN THE UNITED STATES DISTRICT-GOURT.-» 8.8
FOR THE DISTRICT OF MARYLAND, 7 Pi G32

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CHANTE CHAPPEL a us C oe -

Plaintiff, se

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v. Civil Action No. ELH-18-3328
BALTIMORE COUNTY PUBLIC
SCHOOLS

Defendant.

 

MEMORANDUM

In this employment discrimination case, self-represented plaintiff Chante Chappell has
sued “Baltimore County Public Schools”! under the Americans with Disabilities Act of 1990, as
amended, 42 U.S.C. §§ 12101 et seg. (the “ADA”). ECF 1 (the “Complaint’’). Plaintiff alleges
that, during the 2016-2017 and 2017-2018 school years, she was discriminated against based on
her “respiratory” disability. 7d. at 5-6. Specifically, Chappell complains that defendant failed to
provide air conditioning in her workplace. /d. at 6.

Plaintiff asserts claims for failure to accommodate, unequal terms and conditions of
employment, and retaliation. /d. at 5. However, she has not specified the requested relief. Plaintiff
explains that her requested relief is “pending advice from [an] attorney once [she] obtain[s] one.”
Id. at 7.

On December 10, 2018, defendant moved to dismiss the complaint (ECF 5), pursuant to
Fed. R. Civ. P. 12(b)(6), supported by a memorandum of law. ECF 5-1 (collectively, the

“Motion”’). On three occasions between December 19, 2018 and February 26, 2019, Chappell

 

! The correct name for the entity appears to be the “Board of Education of Baltimore
County.” ECF 5 at 1 n.i (citing Md. Code (2018 Repl. Vol., 2018 Supp.), § 3-104 of the Education
Article).
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sought (ECF 8; ECF 10; ECF 13) and I approved (ECF 9; ECF 11; ECF 14) an extension to respond
to the Motion. By Order of February 26, 2019 (ECF 14), I set a response deadline of March 29,
2019. Nevertheless, Chappell has failed to file an opposition, and the time do so has expired, See
Local Rule 105.2(a).

No hearing is necessary to resolve the Motion. See Local Rule 105.6. For the reasons
that follow, I shall grant defendant’s Motion, with leave to amend.

I. Factual Background

In February 2016, plaintiff filed a Charge of Discrimination with the Equal Employment
Opportunity Commission (“EEOC”). ECF 1 at 6. Chappell received a Notice of Right to Sue
letter on August 20, 2018. /d. This suit followed on October 31, 2018.

As noted, Chappell’s claims arise out of her employment with defendant during the 2016-
2017 and 2017-2018 school years. ECF 1 at 5. She alleges that defendant discriminated against
her based on her “respiratory” disability. /d. at 5.

The facts of the Complaint are set forth below, in their entirety, id. at 6:

AC was slated by the board of education by the summer of 2017 but wasn’t

provided. ADA alternative accommodations were to 1) stand in the

hallway/doorway, 2) fans (never provided), 3) inhaler. My working area — Entire

new wing of building had no working AC.

I. Standard of Review

A defendant may test the legal sufficiency of a complaint by way of a motion to dismiss
under Rule 12(b)(6). In re Birmingham, 846 F 3d 88, 92 (4th Cir. 2017); Goines v. Valley Cmty.
Servs. Bd., 822 F.3d 159, 165-66 (4th Cir. 2016); McBurney v. Cuccinelli, 616 F.3d 393, 408 (4th
Cir. 2010), aff'd sub nom., McBurney v. Young, 569 U.S. 221 (2013); Edwards v. City of

Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999). A Rule 12(b)(6) motion constitutes an assertion by

a defendant that, even if the facts alleged by a plaintiff are true, the complaint fails as a matter of
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law “to state a claim upon which relief can be granted.”

Whether a complaint states a claim for relief is assessed by reference to the pleading
requirements of Fed. R. Civ. P. 8(a)(2). That rule provides that a complaint must contain a “short
and plain statement of the claim showing that the pleader is entitled to relief.” The purpose of the
rule is to provide the defendants with “fair notice” of the claims and the “grounds” for entitlement
to relief. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007).

To survive a motion under Fed. R. Civ. P. 12(b)(6), a complaint must contain facts
sufficient to “state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570; see
Ashcroft v. igbal, 556 U.S. 662, 684 (2009) (citation omitted) (“Our decision in Twombly
expounded the pleading standard for ‘all civil actions’... .”); see also Willner v. Dimon, 849 F.3d
93, 112 (4th Cir. 2017). But, a plaintiff need not include “detailed factual allegations” in order to
satisfy Rule 8(a)(2). Twombly, 550 U.S. at 555. Moreover, federal pleading rules “do not
countenance dismissal of a complaint for imperfect statement of the legal theory supporting the
claim asserted.” Johnson v. City of Shelby, Miss., 574 US. ___, 135 S. Ct. 346, 346 (2014) (per
curiam).

Nevertheless, the rule demands more than bald accusations or mere speculation. Twombly,
550 U.S. at 555; see Painter’s Mill Grille, LLC v. Brown, 716 F.3d 342, 350 (4th Cir. 2013). Ifa
complaint provides no more than “labels and conclusions” or “a formulaic recitation of the
elements of a cause of action,” it is insufficient. Twombly, 550 U.S. at 555. Rather, to satisfy the
minimal requirements of Rule 8(a)(2), the complaint must set forth “enough factual matter (taken
as true) to suggest” a cognizable cause of action, “even if... [the] actual proof of those facts is
improbable and . . . recovery is very remote and unlikely.” Twombly, 550 U.S. at 556 (internal

quotation marks omitted).
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In reviewing a Rule 12(b)(6) motion, a court “must accept as true all of the factual
allegations contained in the complaint” and must “draw al] reasonable inferences {from those facts]
in favor of the plaintiff.” E.Z. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440
(4th Cir. 2011} (citations omitted); see Semenova v. MTA, 845 F.3d 564, 567 (4th Cir, 2017);
Houck v. Substitute Tr. Servs., Inc., 791 F.3d 473, 484 (4th Cir. 2015); Kendall v. Balcerzak, 650
F.3d 515, 522 (4th Cir. 2011), cert. denied, 565 U.S. 943 (2011). But, a court is not required to
accept legal conclusions drawn from the facts. See Papasan v. Allain, 478 U.S. 265, 286 (1986).
“A court decides whether [the pleading] standard is met by separating the legal conclusions from
the factual allegations, assuming the truth of only the factual allegations, and then determining
whether those allegations allow the court to reasonably infer” that the plaintiff is entitled to the
legal remedy sought. A Society Without a Name v. Virginia, 655 F.3d 342, 346 (4th. Cir. 2011),
cert. denied, 566 U.S. 937 (2012).

Courts ordinarily do not “‘resolve contests surrounding the facts, the merits of a claim, or
the applicability of defenses’” through a Rule 12(b)(6) motion. Edwards, 178 F.3d at 243 (quoting
Republican Party v. Martin, 980 F.2d 943, 952 (4th Cir. 1992)). However, “in the relatively rare .
circumstances where facts sufficient to rule on an affirmative defense are alleged in the complaint,
the defense may be reached by a motion to dismiss filed under Rule 12(b)(6).” Goodman v.
Praxair, Inc., 494 F.3d 458, 464 (4th Cir. 2007) (en banc); accord Pressley v. Tupperware Long
Term Disability Plan, 553 F.3d 334, 336 (4th Cir. 2009). Because Rule 12(b)(6) “is intended
[only] to test the legal adequacy of the complaint,” Richmond, Fredericksburg & Potomac R.R.
Co. v. Forst, 4 F.3d 244, 250 (4th Cir. 1993), “[t]his principle only applies . . . if all facts necessary
to the affirmative defense ‘clearly appear[ ] on the face of the complaint.’” Goodman, 494 F.3d at

464 (quoting Forst, 4 F.3d at 250) (emphasis added in Goodman ).
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In Swierkiewicz v. Sorema, 534 U.S. 506, 510 (2002), the Supreme Court explained that
the “prima facie case . . . is an evidentiary standard, not a pleading requirement.” The Court said:
“(A]n employment discrimination plaintiff need not plead a prima facie case of
discrimination... .” Jd at 515; see also Stennis v. Bowie State Univ., 716 Fed. App’x 164, 166
n.2 (4th Cir. 2017) (per curiam): McCleary-Evans v. Md. Dep't of Transp., State Highway Admin.,
780 F.3d 582, 584 (4th Cir. 2015), cert. denied, 136 S. Ct. 1162 (2016).

As the Second Circuit has observed, the Supreme Court’s holding in Swierkiewicz is
arguably in tension with the Court’s subsequent rulings in /gbal, 556 U.S. 662, and Twombly, 550
U.S. 544. See Littlejohn v. City of New York, 795 F.3d 297, 307 (2d Cir. 2015). On the one hand,
“(rleading Swierkiewicz on its face, it appears to have meant that a Title VIT [or ADA] plaintiff is
not required to plead facts supporting even a minimal inference of discriminatory intent.” Jd. at
309. On the other hand, in 7wombly, the Court said that a plaintiff must “state a claim to relief
that is plausible on its face.” Twombly, 550 U.S. at 570. And, in /qbal, the Court clarified that the
heightened pleading standard of Twombly is applicable in ““‘all civil actions’... .” Jgbal, 556 U.S.
at 684. |

In Woods v. City of Greensboro, 855 F.3d 639, 648 (4th Cir. 2017), cert. denied,
___US.__, 138 S. Ct. 558 (2017), the Fourth Circuit indicated that a plaintiff “need not plead
facts sufficient to establish a prima facie case of race-based discrimination to survive a motion to
dismiss[.]” Nevertheless, it said that the “pleading standard established
in Iqbal and Twombly applies ....” id Thus, the question at the motion to dismiss stage is
whether the plaintiff has stated a plausible claim for relief. See Ciociola v. Balt. City Bd. of Sch.

Commissioners, CCB-15-1451, 2016 WL 125597, at *4 (D. Md. Jan. 12, 2016) (as to Title VII).
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Because plaintiff is self-represerited, the Court must construe the Complaint liberally. But,
there are limits. In granting a motion to dismiss a complaint brought by a self-represented plaintiff,
Judge Bennett explained in Jackson v. Experian Fin. Servs., RDB-13-1758, 2014 WL 794360, at
*1 (D. Md. Feb. 26, 2014) (alterations in Jackson):

As this Court has held, “the proper length and level of clarity for a pleading
cannot be defined with any great precision and is largely a matter for the discretion
of the trial court.’” Stone v. Warfield, 184 F.R.D. 553, 555 (D. Md. 1999) (quoting
CHARLES A. WRIGHT & ARTHUR R. MILLER, 5 FEDERAL PRACTICE & PROCEDURE
§ 1217 (2d ed. 1990)). Although a pro se plaintiff is generally given more leeway
than a party represented by counsel, this Court “has not hesitated to require even
pro se litigants to state their claims in an understandable and efficient manner.” /d.
(citing Anderson v. Univ. of Md. Sch. of Law, 130 F.R.D. 616, 617 (D. Md. 1989},
aff'd, 900 F.2d 249, 1990 WL 41120 (4th Cir. 1990) (unpublished table decision)).
To that end, a district court “is not obliged to ferret through a [c]omplaint, searching
for viable claims.” Wynn—Bey v. Talley, No. RWT-12-3121, 2012 WL 5986967,
at *2 (D. Md. Nov. 28, 2012). Rather, a court “may dismiss a complaint that is so
confused, ambiguous, vague or otherwise unintelligible that its true substance, if
any, is well disguised.” /d. (quoting Salhuddin v. Cuomo, 861 F.2d 40, 42 (2d Cir. ©
1988)).

And, in Green v. United States, GLR-15-2026, 2016 WL 7338408 (D. Md. Dec. 19,
2016), Judge Russell dismissed a suit, swa sponte, and explained, id. at *1:

The instant Complaint “places an unjustifiable burden on defendants to determine
the nature of the claim agairist them and to speculate on what their defenses might
be” and imposes a burden on the court to sort out the factual basis of any claims
fairly raised, making dismissal under Rule 8 appropriate. Holsey v. Collins, 90
F.R.D. 122 (D. Md. 1981); see also Spencer v. Hedges, 838 F.2d 1210 (Table) (4th
Cir. 1988). To comply with the rule, a Plaintiff must provide enough detail to
illuminate the nature of the claim and allow Defendants to respond. See Erickson
v. Pardus, 551 U.S. 89, 94 (2007). Although district courts have a duty to construe
self-represented pleadings liberally, Plaintiff must nevertheless allege facts that
state a cause of action. See Beaudet v. City of Hampton, 775 F.2d 1274, 1278 (4th
Cir. 1985) (duty to construe liberally does not require courts to conjure up questions
never squarely presented).
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Til. Discussion

As indicated, Chappell asserts claims of failure to accommodate, unequal terms and
conditions of employment, and retaliation. ECF 1 at 5. Defendant argues that Chappell failed to
allege facts sufficient to establish a prima facie case under the ADA. ECF 5.

The ADA was enacted in 1990 “to provide a clear and comprehensive national mandate
for the elimination of discrimination agamst individuals with disabilities,’ 42 U.S.C.
§ 12101(b)(1), and “to provide clear, strong, consistent, enforceable standards addressing
discrimination against individuals with disabilities.” § 12101(b)(2). The ADA “prohibits
discrimination against persons with disabilities in three major areas of public life: employment,
under Title ] of the ADA, see 42 U.S.C. §§ 12111-12117; public services, under Title IT, 42 U.S.C.
§§ 12131-12165; and public accommodations, under Title IIL, 42 U.S.C. §§ 12182-12189.” A
Helping Hand, LLC v. Balt. Cty., Md., 515 F.3d 356, 361 (4th Cir. 2008) (citing Tennessee v. Lane,
541 U.S. 509, 516-17 (2004)).

Title 1 prohibits discrimination “against a qualified individual on the basis of disability in
regard to job application procedures, the hiring, advancement, or discharge of employees,
employee compensation, job training, and other terms, conditions, and privileges of employment.”
42 U.S.C. § 12112(a); see also Summers v. Altarum Inst., Corp., 740 F.3d 325, 328 (4th Cir. 2014)
(“The ADA makes it unlawful for covered employers to ‘discriminate against a qualified
individual on the basis of disability.””). A “qualified individual” is defined as a person who, “with
or without reasonable accommodation, can perform the essential functions of the employment
position that such individual holds or desires.” 42 U.S.C. § 12111(8). Under the ADA, a disability

is defined as: “(A) a physical or mental impairment that substantially limits one or more major life
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activities of such individual; (B) a record of such an impairment; or (C) being regarded as having
such an impairment (as described in paragraph (3)).” § 12102(1).

Unlawful discrimination under Title I of the ADA “can include the failure to make
‘reasonable accommodations to the known physical or mental limitations of an otherwise qualified
individual with a disability who is an applicant or employee... .’” Wilson v. Dollar Gen.
Corp., 717 F.3d 337, 344 (4th Cir. 2013) (quoting § 12112(b)(5)(A)). Additionally, “[t]he Act
prohibits covered employers from discharging qualified employees because they are
disabled.” Summers, 740 F.3d at 328. Moreover, “denying employment opportunities to a job
applicant or employee who is an otherwise qualified individual with a disability” may qualify as
“discrimination against a qualified individual on the basis of disability.” § 12112(b)(5)(B).

A. Failure to Accommodate

Plaintiff asserts a failure to accommodate by defendant. To plead a claim for failure to
accommodate, an employee must allege facts that show: a) she was an individual with a disability
within the meaning of the ADA; (2) the employer had notice of her disability; (3) with reasonable
accommodation, she could perform the essential functions of the position; and (4) the employer
refused to make such accommodations. Rhoads v. FDIC, 257 F.3d 373, 387 n.11 (4th Cir. 2001);
see also Stephenson v. Pfizer, 641 Fed. Appx. 214, 219 (4th Cir. 2016) (per curiam); Wilson, 717
F.3d at 345,

The factual allegations in the Complaint fail to allege a failure to accommodate under the
ADA. Although Chappell alleges that she has a respiratory disability, she does not claim that

defendant had notice of her disability or, with such notice, refused to provide a reasonable

 

* Plaintiff does not specify whether her suit is founded on Title I or Title II of the ADA.
Indeed, she does not mention either provision in her suit. Instead, the Complaint refers generally
to the ADA. However, the distinction is of no consequence here.

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accommodation. Therefore, the Complaint does not contain facts sufficient to state a plausible
claim for failure to accommodate. |
B, Hostile Work Environment

Plaintiff asserts that she was subjected to “[uJnequal terms and conditions of [her]
employment.” ECF 1 at 5. The ADA prohibits discrimination “against a qualified individual with
a disability because of the disability of such individual in regard to job application procedures, the
hiring, advancement, or discharge of employees, employee compensation, job training, and other
terms, conditions, and privileges af employment.” 42 U.S.C. § 12112(a) (emphasis added). The
Fourth Circuit has recognized that this language creates a cause of action for hostile work
environment under the ADA. Fox v. General Motors Corp., 247 F.3d 169, 175-76 (4th Cir, 2001).
Thus, Chappell’s claim for unequal terms and conditions of employment is a hostile work
environment claim.

To allege a claim for hostile work environment, a plaintiff must show: “(1) he is a qualified
individual with a disability; (2) he was subjected to unwelcome harassment; (3) the harassment
was based on his disability; (4) the harassment was sufficiently severe or pervasive to alter a term,
condition, or privilege of employment; and (5) some factual basis exists to impute liability for the
harassment to the employer.” Fox, 247 F.3d at 177; see also Wilson v. Montgomery Cty. Bd. of
Trustees, PWG-17-2784, 2018 WL 4300498, at *5 (D. Md. Sept. 10, 2018). |

To show that the environment was “sufficiently severe or pervasive” a plaintiff must allege
“not only that he subjectively perceived his workplace environment as hostile, but also that a
reasonable person would so perceive it, i.e., that it was objectively hostile.” Fox, 247 F.3d at 178;
see Wilson, 2018 WL 4300498, at *5. To determine whether the workplace is objectively hostile,

the court considers “‘the frequency of the discriminatory conduct; its severity; whether it is
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physically threatening or humiliating, or a mere offensive utterance; and whether it unreasonably
interferes with an employee’s work performance.’” Fox, 247 F.3d at 178 (quoting Walton v.
Mental Health Ass’n, 168 F.3d 661, 667 (d Cir. 1999)); see Wilson, 2018 WL 4300498, at *5.

Chappell does not allege facts indicating harassment, let alone harassment so severe as to
alter terms or conditions of employment. Nor does the Complaint contain allegations
demonstrating that her workplace was objectively hostile.

C. Retaliation

Plaintiff also asserts that she was subject to retaliation. Title V of the ADA includes
provisions against retaliation. See 42 U.S.C. § 12203(a). The ADA states: “No person shall
discriminate against any individual because such individual has opposed any act or practice made |
unlawful by this chapter or because such individual made a charge, testified, assisted, or
participated in any manner in an investigation, proceeding, or hearing under this chapter.” 42
U.S.C. § 12203(a).

| To please a claim of retaliation, a plaintiff must allege facts showing “(1) that she engaged

in protected activity; (2) that her employer took an adverse action against her; and (3) that a causal
connection existed between the adverse activity and the protected action.” Haulbrook, 252 F.3d
at 706; see also Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562, 578 (4th Cir.
2015) (same). The Fourth Circuit recently clarified in Strothers y City of Laurel, Md., 895 F.3d
317, 327 n.3 (4th Cir. 2018), a Title VII case, that an “adverse employment action” is not the
standard in a retaliation case. (Emphasis added). The adverse action “need not be employment-
or workplace-related in order to sustain a retaliation claim.” Id.

Notably, requesting a workplace accommodation based on one’s disability is a protected

activity under the ADA. See Haulbrook v. Michelin N. Am., 252 F.3d 696, 706 (4th Cir. 2001);

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see also Sillah v. Burwell, 244 F. Supp. 3d 499, 513 (D. Md. 2017). However, Chappell does not
claim that she engaged in a protected activity. Nor does she allege that defendant took any adverse
action against her. Accordingly, the Complaint fails to state a claim for retaliation under the ADA.
TV. Conclusion

The Complaint shall be dismissed, without prejudice, because it fails to allege facts
sufficient to state a plausible claim under the ADA. In so holding, | am mindful of the fact that
Chappell is self-represented. Nevertheless, a self-represented plaintiff must allege facts that state
a cause of action, and the facts alleged in Chappell’s Complaint fall short of that standard. See
Green, 2016 WL 7338508, at *1. Therefore, | shall GRANT defendant’s Motion to Dismiss the
Complaint, with leave to amend.

An Order follows, consistent with this Memorandum.
Date: April 17, 2019 isi

Ellen Lipton Hollander
United States District Judge

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